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 10

 11                        UNITED STATES DISTRICT COURT
 12                      CENTRAL DISTRICT OF CALIFORNIA
 13

 14   CHAMBER OF COMMERCE OF                          Case No. 2:24-cv-00801-FMO-PVCx
      THE UNITED STATES OF
 15   AMERICA, CALIFORNIA                             [Assigned to the Honorable Judge
      CHAMBER OF COMMERCE,                            Fernando M. Olguin]
 16   AMERICAN FARM BUREAU
      FEDERATION, LOS ANGELES                         ORDER ON STIPULATION [36]
 17   COUNTY BUSINESS                                 CONFIRMING COURT ORDERED
      FEDERATION, CENTRAL                             BRIEFING SCHEDULE AND
 18   VALLEY BUSINESS
      FEDERATION, and WESTERN                         EXTENDING PERIOD FOR
 19   GROWERS ASSOCIATION,                            HEARING DEFENDANTS’ MOTION
                                                      TO DISMISS
 20                                 Plaintiffs,
 21               v.
 22                                         Complaint Filed: January 30, 2024
      CALIFORNIA AIR RESOURCES              FAC Filed: February 22, 2024
 23   BOARD, LIANE M. RANDOLPH, in
      her official capacity as Chair of the Trial Date: Not set
 24   California Air Resources Board, and
      STEVEN S. CLIFF, in his official
 25   capacity as the Executive Officer of
      the California Air Resources Board.
 26
                                  Defendants.
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 28                                               1
       ORDER CONFIRMING BRIEFING SCHEDULE AND EXTENDING PERIOD FOR HEARING DEFENDANTS'
                                                 MOTION TO DISMISS (2:24-cv-00801-FMO-PVCx)
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  1                                           ORDER
  2            Having considered the parties’ “Joint Stipulation Seeking Confirmation of
  3   Court Ordered Briefing Schedule and Extending Period for Hearing Defendants’
  4   Motion to Dismiss,” and good cause appearing therefor,
  5            IT IS HEREBY ORDERED THAT:
  6            1.     The parties may proceed with briefing pursuant to the schedule
  7   provided in the existing Order Granting Joint Stipulation Extending Time for
  8   Defendants to File Responsive Pleading and Setting Briefing Schedule for
  9   Defendants’ Motion to Dismiss (Dkt. 30); and
 10            2.     Defendants’ motion to dismiss shall be noticed for June 20, 2024, or as
 11   soon thereafter as the matter may be heard, in Courtroom 6D of the United States
 12   District Court for the Central District of California, located at 350 W. 1st Street,
 13   Los Angeles, CA 90012, to accommodate the parties’ existing briefing schedule
 14   (Dkt. 30).
 15            IT IS SO ORDERED.
 16

 17
      Dated: March 26, 2024                       ___________/s/___________
 18
                                                  Hon. Fernando M. Olguin
 19                                               United States District Judge
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        ORDER CONFIRMING BRIEFING SCHEDULE AND EXTENDING PERIOD FOR HEARING DEFENDANTS'
                                                  MOTION TO DISMISS (2:24-cv-00801-FMO-PVCx)
